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               EXHIBIT F
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Title:              Iron Sky.

Type of Material:   Dramatic Work and Music; or Choreography

Registration Number/Date:
                   PAu003472052 / 2008-05-23

Description:        Print material,    p.

Copyright Claimant:
                      Blind Spot Pictures ltd, Transfer: Transfer of all rights
                         by author.

Date of Creation:   2008

Authorship on Application:
                   Johanna Sinisalo, 1958-     ;

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